 

CSD1'160 maul/tsi

Name, AddreSS, Telephone NG. & I.D. N@.

smart GR l GENAL

3194 De La Cruz Blvd, Suite 10
Santa Clara CA 95054
(408) 679-9006

pro per

 

l¥at}rzr$ata John, aka Fatima Carew

 

UNITED STATES BANKRUPTC¥ COURT
NORTHERN DISTRICT OF CALI?ORNIA
280 South First Streetm Rccm 3035
San Jose, California 95113

 

 

335-t casaiegno Court, san Jose cA 95143 MI<R‘“»*PTCY N@- 18"52831
Debtor.

Baimba John §§ \IO

3194 De La Cruz Blvd, Suite 10, Santa Clara CA 95054 pro per ` ‘
M@vinq Party
Respondent(s)

 

 

norton FoR REL\EF FRorvi AuroerTic sTAv
[] REAL PRoPERTY E PERsoNAL PRoPERTY

Movant in the above-captioned matter moves this Court for an Order granting relief from the automatic stay on the

grounds Sct forth below.

1.
2.

CSD 1

APetitionunderchapter |Z] 7 l:l11 |:l 12 |'_'| 13 wasniedon12/26/2018 .

Procedural Status:

a. E Name of Trustee Appointed (ifany): Fred Hje|meset
b. |Z Name OfAimeey Of ReCOrd for Tru$t€€ rif 3111/ll wrariam s_ Marsharl / Marshali a Ramos, LLP
c. m (Opt‘r'onal) Prior Filing lnformaticn:

Debtor has previously filed a Bankruptcy Petition on:
if applicable, the prior case was dismissed on:

 

d. I:I (ifChapter 13 case): Chapter 13 Pian was confirmed on ora confirmation hearing
is set for

N!ovant alleges the following in support of its lViotion:

I:] The following reai property is the subject of this Nlotion:
a. Street address of the property including county and state:

b. Type of real property (e.g., single family residence, apartment building, commercial industrial7 condominium,
unim proved):

c. Legal description of property is attached as Exhibit A.

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(__JSD 1£60 (Page 2) [os/ol/ls]

 

d. lf a chapter 11 or 13 case and if non-payment of any post-petition payment is a ground for relief1 attach the
accounting required by Local Bankruptcy Ru|e 4001 -2(a) as Exhibit B_

e. *Fair market vatue of property as set forth in the Debtor*s schedules: 3

f_ *Nature of Debtor“s interest in the property:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

       

2. E The following personal property is the subject of this N'iotion (describe property);
$27,372.50,M0ti0n granted on 03/31/18 to hold in funds in trust; 2012 Can Am Spyder Nlotorcycle
a. Fair market value of property as set forth in the Debtor‘s schedules: $ 27,372.50 + 9,000
b. Nature of Debtor*s interest in the property: community asset reserved in trust account of Debtor's Attorney
3. *Fair market value of property according to Nlovant: $ 27,372-50 "* 9»900 .
4_ *Nature of lV|ovant'S interest in the property On 03/31/2018 motion was granted for the funds to be held in trust
5. *Status of lvlovant‘s toan;
a. Balance owing on date of Order for Relief: $
b_ Amount of monthly payment $
c. Date of last payment:
d. if real property,
i. Date of default
ii. Notice of Default recorded on:
iii. Notice of Sale published on:
iv. Foreclosure safe currently scheduled for:
e. lf personal property,
i. Pre~petition default $ No_ of months:
ii. Post-petition default 3 No. of months:
6. (if Chaprer 13 Case, stare the foliowing:)
a. Date of post-petition defan|t:
b. Amount of post-petition defauit; $
7. Encumbrances:
a. Voluntary encumbrances on the property iisted in the Scheduies or othenrvise known to Nlovant:
(lF z<NOWN}
Lender Name Principa| Ba|ance Pre-Petition Arrearages Post-Petition Arrearages
Tota| Amount - # of Nlont§'ts Totai Amount - # of Months
1st: ma
an;
3rd;
4th:
T°*a*fa$°’__" L‘e“S __ __ __ _____ __ _ _ __ _ __ _ __ __ 0__00 $ 000 000
b. involuntary encumbrances of record (e.g., tax, mechanic's, judgment and other iiens, lis pendens) as listed

in schedules or otherwise known to Nlovant:
See attached page, §_f necessary

;S§§j'§§)§@'as@s§set°" nearest '-q=‘-rre@nrerrrasrtsrle attire-reck 04/05/19 11:21:17 Page 2 or 7

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8. Re|ief from the automatic stay should be granted because:
a. m |\ilovant‘s interest in the property described above is not adequately protected
b. m Debtor has no equity in the \:I real property E personal property described above and this

property is not necessaryto an effective reorganization

c. I__I The property is "single asset real estate", as defined in 11 U.S.C. § 101(515), and 90 days (or
days as ordered by this court) have passed since entry of the order for relief in this case, and

i. the Debtorfi'rustee has not fried a plan of reorganization that has a reasonable possibility of being
confrnned within a reasonabie time; and

ii. the DebtorfTrustee has
(1) I:l not commenced monthly payments to each creditor whose claim is secured by the
property (other than a claim secured by a judgment iien or by an unmatured statutory lien),
or
(2) I:i commenced payments, butsuch payments are less than an amount equal to interest at

a current fair market rate on the value of each creditors interest in the property.

d. I:l *Other cause exists as follows (specify): I:I See attached page.

When required l\ilovant has filed separate Declarations pursuant to Local Bankruptcy Rule 4001-2(a).

|Viovant attaches the foilowing;

1. l:! Other relevant evidencel

2. I___I (Optionai) N|emorandum of points and authorities upon which the moving party witt rely.

\i\l'HEREFORE1 iviovant prays that this Court issue an Order granting the following:
|Zi nelteras requested

m Other:

Da’tedl 04/05/2019

Baimba John pro per
{Attorney fort lViovant

 

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REQUIRED STATEMENT
TO ACCOMPANY MOTIONS FOR RELIEF FROM STAY

 

 

 

 

 

 

 

 

 

 

 

All Cases; Debtor(s) Fatmata John aka Fatima CareW Casc No. 18-52831 Chapter 7
A]l Cases: Moving Creditor Baimba lohn Date Case Filed APl`il 951 20i9
Nature of Relief Songht: ['Z’Lift Stay E Annul Stay E Other (describe)
Chapter 13: Date of Conflrmation Healing or Date Plan Confirrned
Chepter 7; n No-Aesei nean Fiied en 03/04/2019
§ No-Asset Repolt not Filed, Date of Creditors Meeting
1. Collateral
a. E Honte
b_ m Car Yeal»o Make, and Moder 2012 Can Am Spyder Motorcycle Val. $7,735
e_ at other (descnbe) $27_372.50 emmean asset reserved
2. Ba]ance Owed as of Petition Date $ 0
Total of all other Liens against Collateral $ 0
3. ln chapter 13 cases, if a post-petition default is asserted in me motion attach a payment history listing the
amounts and dates of all payments received from the debtor(s) post-petition
4. Estimated Va]ue of Collateral (must be supplied in all cases) $ 35,1(}?.50
5. Default
a. U Pre-Petitiort Default
Nurnber of months Amormt $
b. ij Post-Pei:ition Dcfautt
i. E On direct payments to the moving creditor
Nurnber of months Amorlnt $
ii. ij On payments to the Standing Chapter 13 Trustee
Number of months Amount $
6. Omer Ailegations
a. M Lack of Adequate Protection § 362(d)(1)
i. [i No insurance
ii. |:l Taxes unpaid Arnolmt $
iii. E Rapidly depreciating asset
iv. M Other (describe) Not amenable to release funds in all attemps
b. E No Equity and not Necessary for an Effe_ctive Reorganization § 362(d)(2)
c. E Other “Cause” § 362(d)(1)
i. [| Bad Faith (describe)
ii. E Multiple Filings

iii_ E Other (describe)

 

d. chtor’s Statement of Intenticn regarding the Collateral
i. l: Reafflrm ii i:t Redeem iii. ij Surrender iv. ij No Statement of lntention Filed

_ Date: 04/05/2018

 

Baimba John pro per

Counsel for Movant
(Rev. 12 /21/09)

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SUPERIOR COURT ()F CALIFORNIA

 

 

 

 

COUNTY OF SANTA CLARA
l\i'llNUTE OFIDEFt
Baimba John vs Fatmata iohn ‘ l-|earing Start Time: 11:00 Alvl
17Fm04446 Hearmg Type_: Ftequest for Order: Domestrc
_ l y _ » \r'iolence -
Dete of Hearing: 02{20/2018 ` Comments:
Heard By: Hayashi, Roberta S _ location: Department 65
Courtroom Reporter: Susan Yakushi Courtroorn Clerk: Betty Wilson
Court interpreter: ‘
. Court investigation
Parties Present:_ ‘ Future i-tearin§:
Gutierrez, Yadhira Natividad Attorney
.iohn, Baimba Petitioner
lohn, Fatmata Ftespondent
i_ucero, Fred 5 Attorney
Exhibits: -

 

- Both parties are sworn.

Trial set tor 3/22[18 at 1:30pm d65. lssue: DV (Remaining issues re: Support are trailing for setting.]

TE: 1/2 day.

Court orders:

Sufhcient funds shall be set aside to settle the lRS obligation

Within the next 10 days the respondent shall produce any documents that may be in her possession

regarding the tax obligation

Neither party may fail to inform the other regarding information or liabilityto the

'lRS.

anh party shall keep on trust the amount of $3,200 that shall be used towards the lRS debt

1/'2 proceeds released as stated on the record.

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SUPERI€)R CoURT OF CALIFORNIA
. coUNTY OF SANTA C_LARA

' MlNUTE oeDEB

 

 

2.5% community asset reserved
Other orders as stated.

Referral to SOC.

Ms. Gutierrez to prepare the ordei_z

All other exisiting orders to remain ineffect.

 

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Va=l-ue Report

2012 Gan`»Am .Spydejr RS` P;SE'S

'Value$

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